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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                             '
                                                     '
       v.                                            '
                                                     '        CRIMINAL NO. 4:20-CR-00585
FRANKLIN TREJO-CHAVARRIA,                            '
    a/k/a “Impulsivo,”                               '
                                                     '
WILSON JOSE VENTURA-MEJIA,                           '
    a/k/a “Discreto,” a/k/a “Disco,”                 '
                                                     '
JIMMY VILLALOBOS-GOMEZ,                              '
    a/k/a “Duchi,” a/k/a “Duchy,”                    '
                                                     '
ANGEL MIGUEL AGUILAR-OCHOA,                          '       (Murder in Aid of Racketeering,
    a/k/a “Darki,”                                   '       18 U.S.C. § 1959(a)(1); Conspiracy
                                                     '       to Commit Murder in Aid
WALTER ANTONIO CHICAS-GARCIA,                        '       of Racketeering, 18 U.S.C.
    a/k/a “Walter,” a/k/a “Mejia,” and               '       § 1959(a)(5); and Aiding and
                                                     '       Abetting, 18 U.S.C. § 2)
MARLON MIRANDA-MORAN,                                '
    a/k/a “Chinki.”                                  '
                                                     '
CARLOS ELIAS HENRIQUEZ-TORRES,                       '
    a/k/a “Kalin.”                                   '

              NOTICE OF INTENT NOT TO SEEK THE DEATH PENALTY

       COMES NOW the United States of America, by and through its counsel, Jennifer Lowery,

Acting United States Attorney for the Southern District of Texas, John M. Lewis and Britni

Cooper, Assistant United States Attorneys, David L. Jaffe, Chief of the Organized Crime and Gang

Section of the U.S. Department of Justice, Julie Finocchiaro, Gerald Collins, and Matthew Hoff,

Trial Attorneys, hereby notifies the Court and counsel for the Defendants that it does not intend to

seek the death penalty against them.




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                                      Respectfully submitted,

                                      /s/ John M. Lewis
                                      John M. Lewis
                                      Britni Cooper
                                      Assistant United States Attorneys
                                      United States Attorney’s Office
                                      Southern District of Texas

                                      Julie A. Finocchiaro
                                      Gerald Collins
                                      Matthew Hoff
                                      Trial Attorneys
                                      Department of Justice
                                      Organized Crime and Gang Section




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was sent to all counsel of

record for each defendant on the date of this filing via ECF notification and electronic mail.



                                                     /s/ John M. Lewis
                                                     John M. Lewis
                                                     Assistant United States Attorney
                                                     United States Attorney’s Office
                                                     Southern District of Texas




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